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                      UNITED STATES DISTRICT COURT
                WESTERN DISTRICT OF WASHINGTON AT SEATTLE


WENDY MAGUIRE,
                                                CAUSE NO. C18-1301RSL
                    Plaintiff,
                                                ORDER DIRECTING CLERK TO ENTER
     v.                                         AMENDED PARTIAL JUDGMENT

ECO SCIENCE SOLUTIONS, INC., GA-DU
CORPORATION, MICHAEL ROUNTREE,
L. JOHN LEWIS, DON TAYLOR, JEFFERY
TAYLOR, and JOHN DOE, #1-5,

                    Defendants.



                                 SUMMARY OF JUDGMENT

          1. Judgment Creditor:                  Wendy Maguire

          2. Attorneys for Judgment Creditor:    Rochelle Nelson and Alan Schuchman of
                                                 Cairncross & Hempelmann, P.S.
                                                 524 Second Avenue, Suite 500
                                                 Seattle, WA 98104
                                                 (206) 587-0700

          3. Judgment Debtors:                   Eco Science Solutions, Inc., Ga-Du
                                                 Corporation, Michael Rountree, Don Taylor,
                                                 and Jeffery Taylor, Jointly and Severally

          4. Principal Amount of Judgment:       $480,000.00
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             5. Reasonable Attorney’s Fees
                And Costs:                                    $201,666.55

             6. Prejudgment Interest on
                $240,000 from July 1, 2017 through
                September 14, 2020 at 12% per
                per annum:                         $64,835.15


             7. Post-Judgment Interest Rate:                  12%

             8. Total:                                        $746,501.40


                                        ORDER AND JUDGMENT

        On August 22, 2019, April 15, 2020, and May 13, 2020, this Court entered orders

granting partial summary judgment in favor of plaintiff Wendy Maguire and against defendants

Eco Science Solutions, Inc., Ga-Du Corporation, and Michael Rountree. 1 See Dkt. ## 32, 86, and

91 (the “Orders”). The Court entered partial judgment against these four defendants on July 13,

2020. Dkt. # 98. Following the entry of partial judgment, the Court awarded plaintiff

$201,666.55 in attorney’s fees and costs (Dkt. # 101), and the Clerk of Court entered a default

against defendants Don Taylor and Jeffrey Taylor (Dkt. # 106). On September 14, 2020, plaintiff

moved to amend the judgment consistent with the above orders, which the Court incorporates by

reference.

        Having reviewed the “Plaintiff’s Motion for Entry of Revised Final Partial Judgment”

(Dkt. # 107) and the supporting Declaration of Rochelle Nelson (together with the attached

Exhibit A), the Court hereby FINDS that defendants Eco Science Solutions, Inc., Ga-Du

Corporation, Michael Rountree, Don Taylor, and Jeffrey Taylor are jointly and severally liable to

plaintiff Wendy Maguire for $240,000.00 in wages, an additional $240,000.00 in exemplary



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  While the Court entered its Orders against Defendant L. John Lewis as well, Mrs. Maguire has since reached a
tentative settlement with Mr. Lewis, and accordingly, Defendant Lewis is not included as a debtor in this Judgment.
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damages, and $201,666.55 in attorney’s fees and costs, plus prejudgment interest as set forth

above. The Court further

        FINDS that there is no just reason to delay the entry of a revised judgment as to these

claims and against these defendants in the above-specified amounts. It is, therefore,

        ORDERED that the Clerk of Court enter a revised judgment in favor of plaintiff Wendy

Maguire and against defendants Eco Science Solutions, Inc., Ga-Du Corporation, Michael

Rountree, Don Taylor, and Jeffrey Taylor, jointly and severally, in the amounts set forth above.

It is further

        ORDERED that 12% post-judgment interest shall begin to accrue on the total judgment

amount ($746,501.40) beginning on September 15, 2020, at the rate of 12% per annum. This

post-judgment interest is awarded against the defendants jointly and severally.


        Dated this 15th day of September, 2020.




                                              Honorable Robert S. Lasnik
                                              United States District Judge
